Case 2:23-cv-01022-ODW-MRW Document 1-1 Filed 02/10/23 Page 1 of 20 Page ID #:9




                             EXHIBIT 1 - PAGE 9
Case 2:23-cv-01022-ODW-MRW Document 1-1 Filed 02/10/23 Page 2 of 20 Page ID #:10




                             EXHIBIT 1 - PAGE 10
Case 2:23-cv-01022-ODW-MRW Document 1-1 Filed 02/10/23 Page 3 of 20 Page ID #:11




                             EXHIBIT 1 - PAGE 11
Case 2:23-cv-01022-ODW-MRW Document 1-1 Filed 02/10/23 Page 4 of 20 Page ID #:12




                             EXHIBIT 1 - PAGE 12
Case 2:23-cv-01022-ODW-MRW Document 1-1 Filed 02/10/23 Page 5 of 20 Page ID #:13




                             EXHIBIT 1 - PAGE 13
Case 2:23-cv-01022-ODW-MRW Document 1-1 Filed 02/10/23 Page 6 of 20 Page ID #:14




                             EXHIBIT 1 - PAGE 14
Case 2:23-cv-01022-ODW-MRW Document 1-1 Filed 02/10/23 Page 7 of 20 Page ID #:15




                             EXHIBIT 1 - PAGE 15
Case 2:23-cv-01022-ODW-MRW Document 1-1 Filed 02/10/23 Page 8 of 20 Page ID #:16




                             EXHIBIT 1 - PAGE 16
Case 2:23-cv-01022-ODW-MRW Document 1-1 Filed 02/10/23 Page 9 of 20 Page ID #:17




                             EXHIBIT 1 - PAGE 17
Case 2:23-cv-01022-ODW-MRW Document 1-1 Filed 02/10/23 Page 10 of 20 Page ID #:18




                             EXHIBIT 1 - PAGE 18
Case 2:23-cv-01022-ODW-MRW Document 1-1 Filed 02/10/23 Page 11 of 20 Page ID #:19




                             EXHIBIT 1 - PAGE 19
Case 2:23-cv-01022-ODW-MRW Document 1-1 Filed 02/10/23 Page 12 of 20 Page ID #:20




                             EXHIBIT 1 - PAGE 20
Case 2:23-cv-01022-ODW-MRW Document 1-1 Filed 02/10/23 Page 13 of 20 Page ID #:21




                             EXHIBIT 1 - PAGE 21
Case 2:23-cv-01022-ODW-MRW Document 1-1 Filed 02/10/23 Page 14 of 20 Page ID #:22




                             EXHIBIT 1 - PAGE 22
Case 2:23-cv-01022-ODW-MRW Document 1-1 Filed 02/10/23 Page 15 of 20 Page ID #:23




                             EXHIBIT 1 - PAGE 23
Case 2:23-cv-01022-ODW-MRW Document 1-1 Filed 02/10/23 Page 16 of 20 Page ID #:24




                             EXHIBIT 1 - PAGE 24
Case 2:23-cv-01022-ODW-MRW Document 1-1 Filed 02/10/23 Page 17 of 20 Page ID #:25




                             EXHIBIT 1 - PAGE 25
Case 2:23-cv-01022-ODW-MRW Document 1-1 Filed 02/10/23 Page 18 of 20 Page ID #:26




                             EXHIBIT 1 - PAGE 26
Case 2:23-cv-01022-ODW-MRW Document 1-1 Filed 02/10/23 Page 19 of 20 Page ID #:27




                             EXHIBIT 1 - PAGE 27
Case 2:23-cv-01022-ODW-MRW Document 1-1 Filed 02/10/23 Page 20 of 20 Page ID #:28




                             EXHIBIT 1 - PAGE 28
